Case 2:04-cr-20512-SH|\/| Document 34 Filed 05/09/05 Page 1 of 2 Page|D 35

IN THE UNlTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STA'I`ES OF AMERICA,

)
)
Plaintiff, ) Criminal No. 04-20512-3
vs. )
)
MUJAHID MUHAMMAD, ) 18 U.S.C. § 922(g)
)
Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD
OF EXCLUDABLE DELAY

 

lt is hereby ORDERED that the Governrnent's motion to continue the suppression hearing

scheduled Thursday, May {Z_, 2005 is hereby GRANTED, and is now reset for

Wr£d[l¢§d@{ MQ;{ 35 AJQ§ gi .?,.‘OOP. m. . The time is excluded under the Speedy

Trial Act.

IT ls so 0RDERE1) this the q day OfMay, 2005.

maj sTATEs DIsTRiCT JUDGE

 

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"v_`mth mla 55 and!or 321!11 FHCrP on

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UNiTD s"sATE DisTRiC COURT - WE"RN DisiTRCT OF TENNESSEE

   

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Honorable .l. Breen
US DlSTRlCT COURT

